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                        IN THE UNITED STATED DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION


ROTHSCHILD BROADCAST                §
DISTRIBUTION SYSTEMS, LLC           §
                                    §
       Plaintiff,                   §
                                    §
vs.                                 §           Case No: 2:16-cv-934
                                    §
FANDANGO MEDIA, LLC                 §
     .                              §
       Defendant.                   §
___________________________________ §

                      ORDER OF DISMISSAL WITHOUT PREJUDICE

         On this date, the Court considered Plaintiff Rothschild Broadcast Distribution

Systems, LLC’s motion to dismiss without prejudice Defendant Fandango Media, LLC pursuant

to Fed. R. Civ. P. 41 (a)(1)(a)(i).

        Therefore, IT IS ORDERED that Plaintiff’s claims are DISMISSED WITHOUT

PREJUDICE.

         SIGNED this 6th day of September, 2016.



                                                     ____________________________________
                                                     ROBERT W. SCHROEDER III
                                                     UNITED STATES DISTRICT JUDGE
